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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: APPLE INC. APP STORE SIMULATED
CASINO-STYLE GAMES LITIGATION                                                           MDL No. 2985


                                        TRANSFER ORDER


        Before the Panel: ∗ Common defendant Apple Inc. moves under 28 U.S.C. § 1407 to
centralize this litigation in the Northern District of California or, alternatively, the Central District
of California. This litigation currently consists of six actions pending in six districts, as listed on
Schedule A. Since the filing of the motion, the Panel has been notified of four related actions. 1

        Plaintiffs in the six actions on the motion and one potential tag-along action (Nelson)
support centralization in the Northern District of California. Plaintiff in another potential tag-along
action (Lowe) opposes centralization.

         On the basis of the papers filed and the hearing session held, 2 we find that these actions
involve common questions of fact, and that centralization in the Northern District of California
will serve the convenience of the parties and witnesses and promote the just and efficient conduct
of this litigation. These putative class actions present common factual questions arising from the
allegation that Apple, through its App Store, promotes, facilitates, and profits from simulated
casino-style games that involve gambling in violation of state laws. Plaintiffs in all actions allege
that casino-style app games in the App Store, such as slots, poker, blackjack, and bingo, allow
users to purchase virtual coins or coin-like objects to play for the chance to win more playing time
and that paying money for the chance to win more playing time constitutes unlawful gambling.
All six complaints also include the same list of the 200 “most popular games” as among the games
at issue. Common factual questions include: (1) the nature of the game play within the same 200


∗
  Judge Catherine D. Perry and Judge Nathaniel M. Gorton did not participate in the decision of
this matter.
1
 The related actions are pending in the Northern District of California and the Northern District
of Mississippi. These actions and any other related actions are potential tag-along actions. See
Panel Rules 1.1(h), 7.1 and 7.2.
2
 In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel heard oral
argument by videoconference at its hearing session of March 25, 2021. See Suppl. Notice of
Hearing Session, MDL No. 2985 (J.P.M.L. Mar. 8, 2021), ECF No. 31.
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or more involved apps and the function of in-app purchases; (2) the nature of Apple’s relationship
with the third-party app developers, including Apple’s process for reviewing and publishing apps;
(3) Apple’s financial arrangements for distributing app-based revenue from the games; and (4)
Apple’s alleged promotion of the apps. The parties anticipate significant overlap in dispositive
motions and discovery on third-party app developers. Centralization will eliminate duplicative
discovery; prevent inconsistent pretrial rulings, including with respect to class certification; and
conserve the resources of the parties, their counsel, and the judiciary.

        Plaintiff in Lowe, the sole party opposing centralization, argues that informal coordination
and transfer under Section 1404 are preferable alternatives to centralization. We find this argument
unpersuasive. There is now a total of ten related actions pending in eight districts, including
potential tag-along actions, and four distinct groups of firms representing the various plaintiffs.
The claims and proposed classes overlap extensively but with substantive differences that will
make informal coordination unwieldy. 3 The likely involvement of third-party discovery on app
developers poses a further obstacle to informal coordination. Section 1404 also does not appear
to be a practicable alternative to centralization. No Section 1404 transfer motions are pending.
Moreover, on this record, Section 1404 does not provide a reasonable prospect for eliminating the
multidistrict character of the litigation, as actions are pending in eight districts. Additionally,
Apple states that it has received communications from one counsel that it intends to bring at least
nine more actions in nine other states.

         We conclude that the Northern District of California is the appropriate transferee district
for this litigation. Defendant Apple has its headquarters in this district, and represents that the
employees with relevant knowledge and common documentary evidence are located there. Nearly
all parties support centralization in this district. Judge Edward J. Davila, who presides over one
potential tag-along action, is an experienced transferee judge with the willingness and ability to
manage this litigation. We are confident that he will steer this litigation on a prudent course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of California are transferred to the Northern District of California and, with
the consent of that court, assigned to the Honorable Edward J. Davila for coordinated or
consolidated pretrial proceedings.




3
  The six actions on the motion and the Stephens potential tag-along action are on behalf of
state-specific classes but cover all casino-style apps in the App Store, including at least the
200 “most popular” apps listed in those complaints; the Nelson potential tag-along action is on
behalf of a putative nationwide class that overlaps with those state-specific classes but only as to
one subset of games (slot machine apps); and the Lowe and Hoose potential tag-along actions are
on behalf of putative multi-state classes covering 25 states, but are limited to casino-style apps
developed by two companies.
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                       PANEL ON MULTIDISTRICT LITIGATION



                      _________________________________________
                                   Karen K. Caldwell
                                        Chair

                     Matthew F. Kennelly    David C. Norton
                     Roger T. Benitez       Dale A. Kimball
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IN RE: APPLE INC. APP STORE SIMULATED
CASINO-STYLE GAMES LITIGATION                                  MDL No. 2985


                                       SCHEDULE A

           Northern District of Alabama

     LARSEN v. APPLE INC., C.A. No. 2:20-01652

           District of Connecticut

     WORKMAN v. APPLE INC., C.A. No. 3:20-01595

           Northern District of Georgia

     PAYTON v. APPLE INC., C.A. No. 1:20-04326

           Northern District of New York

     CUSTODERO v. APPLE INC., C.A. No. 5:20-01320

           Southern District of Ohio

     MCCLOSKEY v. APPLE INC., C.A. No. 3:20-00434

           Western District of Tennessee

     VIGLIETTI v. APPLE INC., C.A. No. 2:20-02773
